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9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 2:12-CR-00250 TLN
                      Plaintiff,        )
12                                      ) STIPULATION REGARDING
                                        ) EXCLUDABLE TIME PERIODS
13
           v.                           ) UNDER SPEEDY TRIAL ACT;
14                                      ) FINDINGS AND ORDER
                                        )
15
     KRISTIN M CALDWELL                 )
16   XAVIER L. JOHNSON                  )
     WILLIAM L. BROWN                   )
17                                      ) Date: 3-27-2014
18                    Defendants.       ) Time: 9:30 a.m.
     _______________________________) Judge: Hon. Troy L. Nunley
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20                                        STIPULATION
21         Plaintiff United States of America, by and through its counsel of record, and
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     defendants by and through their counsels of record, hereby stipulate as follows:
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           1.       By previous order, this matter was set for status on January 16, 2014.

25         2.       By this stipulation, defendants Kristin Caldwell, Xavier Johnson and
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     William Brown now move to continue the status conference until March 27, 2014 and
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     to exclude time between January 16, 2014 and March 27, 2014 under Local Code T4.
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1    Plaintiff does not oppose this request.
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            3.       The parties agree and stipulate, and request that the Court find the
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     following:
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5           a.       The government has represented that the discovery associated with this
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     case includes approximately 325 pages of discovery. All of this discovery has been
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     either produced directly to counsel and/or made available for inspection and copying.
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9           b.       Counsels for the defendants desire additional time to consult with their

10   clients, to review the current charges, to finish the investigation and research related to
11
     the charges, and to discuss potential resolutions with their clients.
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            c.       Counsels for the defendants believe that failure to grant the above-
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14   requested continuance would deny them the reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence.
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            d.       The government does not object to the continuance.
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18          e.       Based on the above-stated findings, the ends of justice served by
19   continuing the case as requested outweigh the interest of the public and the defendant in
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     a trial within the original date prescribed by the Speedy Trial Act.
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22
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

23   § 3161, et seq., within which trial must commence, the time period of January 16, 2014
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     to March 27, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§
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     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
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27   the Court at defendants’ request on the basis of the Court's finding that the ends of
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     justice served by taking such action outweigh the best interest of the public and the


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1    defendants in a speedy trial.
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            4.       Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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5    from the period within which a trial must commence.
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     IT IS SO STIPULATED.
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     Dated: January 14, 2014                    Respectfully submitted,
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9
                                                /s/ Kelly Babineau
10                                              KELLY BABINEAU
11
                                                Attorney for Kristin Caldwell

12
     Dated: January 14, 2014                    /s/ Kyle Knapp
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                                                Kelly Babineau for KYLE KNAPP
14                                              Attorney for XAVIER JOHNSON
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16   Dated: January 14, 2014                    /s/ William DuBois
                                                Kelly Babineau for WILLIAM DuBois
17
                                                Attorney for WILLIAM L. BROWN
18

19   Dated: January 14, 2014                    /s/ Matthew Morris
20                                              Kelly Babineau for:
                                                MATTHEW MORRIS
21                                              Assistant U.S. Attorney
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1
                                ORDER
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     IT IS SO FOUND AND ORDERED this 15th day of January, 2014.
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                                     Troy L. Nunley
9                                    United States District Judge

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